      Case 2:18-cv-00013-LGW-BWC Document 30 Filed 01/08/19 Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

COURTNEY WARD, as next friend        )
of J.E.,                             )
a minor,                             )
                                     )
       Plaintiff,                    )
                                     )     CIVIL ACTION FILE
vs.                                  )     NO. 2:18-CV-00013-LGW-RSB
                                     )
MCINTOSH COUNTY SCHOOL               )
DISTRICT, and BOBBY G.               )
ROBINSON,                            )
                                     )
       Defendants.                   )
                                     )

                           NOTICE TO THE COURT

       COMES NOW the Plaintiff and all Defendants, and file this joint Notice to

the Court, pursuant to this Court’s order entered on November 9, 2018,

instructing the parties to apprise the Court of the status of the state criminal

proceedings against defendant Bobby G. Robinson within sixty (60) days of

entry of said order and hereby notify the Court as follows:

       The state criminal proceedings against Defendant Bobby G. Robinson

are still pending, however, based upon the good faith belief of all parties
    Case 2:18-cv-00013-LGW-BWC Document 30 Filed 01/08/19 Page 2 of 5




herein said proceedings will resolve in the near future, at which time the

parties will promptly notify the Court.

      This 8th day of January, 2019.

                              WILLIAMS, MORRIS & WAYMIRE, LLC

                              /s/ Terry E. Williams
                              TERRY E. WILLIAMS
                              Georgia Bar No. 764330
Bldg. 400, Suite A
4330 South Lee Street
Buford, GA 30518
678-541-0790
678-541-0789
terry@wmwlaw.com

                              /s/ Katie S. Mitchell
                              KATIE S. MITCHELL
                              Georgia Bar No. 106088

MITCHELL & REDDOCK, LLC
111 West Court Street
Hinesville, GA 31313
Mandrlawoffice@gmail.com

                              /s/ Wayne S. Melnick
                              WAYNE S. MELNICK
                              Georgia Bar No. 501267

Freeman, Mathis & Gary, LLP
100 Galleria Parkway, SE, Suite 1600
Atlanta, GA 30339
wmelnick@fmglaw.com
asabzevari@fmglaw.com



                                          2
    Case 2:18-cv-00013-LGW-BWC Document 30 Filed 01/08/19 Page 3 of 5




                              /s/ Hieu M. Nguyen
                              HIEU M. NGUYEN
                              Georgia Bar No.

Harben, Hartley & Hawkins, LLP
Wells Fargo Center
340 Jesse Jewell Pkwy., Suite 750
Gainesville, GA 30501
hnguyen@hhhlawyers.com
phartley@hhhlawyers.com




                                     3
     Case 2:18-cv-00013-LGW-BWC Document 30 Filed 01/08/19 Page 4 of 5




                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and

foregoing NOTICE TO THE COURT on all parties by electronic filing through

the CM/EFC filing system, as follows:

                               Wayne S. Melnick
                              Arash Ali Sabzevari
                           wmelnick@fmglaw.com
                           asabzevari@fmglaw.com

                               Hieu M. Nguyen
                               Philip L. Hartley
                        Harben, Hartley & Hawkins, LLP
                          hnguyen@hhhlawyers.com
                          phartley@hhhlawyers.com

This 8th day of January, 2019.

                                 WILLIAMS, MORRIS & WAYMIRE, LLC

                                 /s/ Terry E. Williams
                                 TERRY E. WILLIAMS
                                 Georgia Bar No. 764330
Bldg. 400, Suite A
4330 South Lee Street
Buford, GA 30518
678-541-0790
678-541-0789
terry@wmwlaw.com




                                        4
    Case 2:18-cv-00013-LGW-BWC Document 30 Filed 01/08/19 Page 5 of 5




                              /s/ Katie S. Mitchell
                              KATIE S. MITCHELL
                              Georgia Bar No. 106088

MITCHELL & REDDOCK, LLC
111 West Court Street
Hinesville, GA 31313
Mandrlawoffice@gmail.com

                              /s/ Wayne S. Melnick
                              WAYNE S. MELNICK
                              Georgia Bar No. 501267

Freeman, Mathis & Gary, LLP
100 Galleria Parkway, SE, Suite 1600
Atlanta, GA 30339
wmelnick@fmglaw.com
asabzevari@fmglaw.com

                              /s/ Hieu M. Nguyen
                              HIEU M. NGUYEN
                              Georgia Bar No.

Harben, Hartley & Hawkins, LLP
Wells Fargo Center
340 Jesse Jewell Pkwy., Suite 750
Gainesville, GA 30501
hnguyen@hhhlawyers.com
phartley@hhhlawyers.com




                                       5
